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        Case 8:16-cv-02270-MSS-TBM           PM2 Filed 08/08/16 Page 1 of 3 PageID 20
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                     IN THE COUNTY COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                             IN AND }"QR HILLSBOROUGH COUNTY, FLORIDA
                                                       CIVIL ACTION


          LAURA DENISE SABELI,A,
               Plaintiff,
                                                        CASE NO.:
          vs.                                           DIVISION:


          QUANTUM3 GROUP, LLC;
          AC}' MEDICAL SERVICES SPECIAL FINANCE UNIT, LLC,
                Defendant(s).



                                                        COMPLAINT


                     COMES NOW Plaintiff(s), LAURA DENISE SABELLA (""Plaintiff'), by and through the

          undersigned counsel, and hereby files this Complaint against Defendant(s), QUANTUM3 GROUP,

          LLC; ACF MEDICAL SERVICES SPECIAL FINANCE UNIT, LLC ( ..Defendant") and states as

          follows:

                                          FACTS COMMON TO ALL COUNTS

                     I.      Venue is proper in the county of the instant action.

                     2.      Plaintiff hereby demands its right to a jury trial on issues so triable.

                     3.      At all times material to this action, Defendants named herein and/or their assi!,'llOrs

          regularly engage in substantial business activity in the State of Florida including in the county of the

          instant action, State of Florida.

                     4.      All references to Defendants named herein shall also include Defendants named

         herein·s predecessors.

                COUNT I- VIOLATIONS OF THE FCCPA AGAINST QUANTUM3 GROUP. LLC

                     5.      Plaintiff realleges paragraph numbers l through 4.

                     6.      This is an action against QUANTUM3 GROUP, LLC for violations of the

          Florida's Consumer Collections Practices Act, Florida Statutes, §559, Part VI, et. seq. (FCCPA) for

          damages in excess of $5,000.00 but less than $15,000.00, exclusive of interest, court costs and

          attorney's fees.

                     7.      At all times material hereto: (a) the Plaintiff is a 'debtor' or ·consumer' within the

          meaning of the FCCPA; (b) the debt sued upon is a 'debt' or ·consumer debt' within the meaning of

          the FCCPA; and (c) QUANTUM3 GROUP, LLC is a 'person' within the meaning of the FCCPA.

                     8.      On or about July 9, 2014, QUANTUM3 GROUP, LLC engaged in consumer debt

          collection activities against Plaintiff in regards to delinquent amounts allegedly owed pursuant to

          consumer debt within the meaning of the FCCPA (the "Debt Collection Activity").
Case 8:16-cv-02270-MSS-TBM Document 2 Filed 08/08/16 Page 2 of 3 PageID 21


              9.        The Debt Collection Activity included the filing Proof of Claim #3 in Bankruptcy

 case number 8: 14-bk-05092-CPM in the Middle District of Florida.               Said Proof of Claim seeks

 unsecured amounts tbat appear to be barred from collections by the applicable statute of limitations

 and is otherwise 'stale.· Attached hereto as       Exhibit "A" are the relevant documents evidencing the
 Debt Collection Activity as described herein this CoW1t. (the "Debt Collection Conduct").

              10.       QUANTUM3 GROUP, LLC's Debt Collection Conduct as described herein this

 CoW1t is a violation of the following provisions of Florida Statutes, §559. 72:

                      (9) Claim, attempt, or threaten to el?fiJrce a debt when such person knows that
              the debt is not legitimate, or assert the existence qf some other legal right when such
              person knows that the right does not exist.

              11.       As a result of the Debt Collection Conduct as described herein this Count, Plaintiff

 has been injured.

              12.       Plaintiff is (a) is entitled to collect its attorney's fees and costs pursuant to the

 Florida Statutes, §559.77(2); (b) has retained the law finn of Stamatakis + Thalji +Bonanno in this

 action; and        (c} is obligated to pay the law firm of Stamatakis + Thalji +Bonanno a reasonable fee
 for its services in bringing or defending in this case, as well as all costs of collections.

              WHEREFORE, Plaintiff respectfully requests relief in the form of: (i) actual damages,

 interest, court costs and attorney"s fees; (ii) statutory damages in the minimum amount of$1,000.00

 per violation; (iii) a trial by jury; and (iv) such further relief in law or equity that the Court deems

 just an appropriate under the circumstances.


              COUNT II-VIOLATIONS OF THE FCCPA AGAINST ACF MEDICAL SERVICES
                                       SPECIAL FINANCE UNIT, LLC
              13.       Plaintiffrealleges paragraph numbers I through 4.

              14.       This is an action against ACF MEDICAL SERVICES SPECIAL FINANCE

 UNIT, LLC for violations of the Florida's Consumer Collections Practices Act, Florida Statutes,

 §559, Part VI, et. seq. (FCCPA) for damages in excess of$5,000.00 but less than$15,000.00,

 exclusive of interest, court costs and attorney's fees.

              15.       At all times material hereto: (a) the Plaintiff is a "debtor' or 'consumer' within the

 meaning of the FCCPA; (b) the debt sued upon is a 'debt' or 'consumer debt ' within the meaning of

 the FCCPA; (c) ACF MEDICAL SERVICES SPECIAL FINANCE UNIT, LLC is a 'person'

 within the meaning of the FCCPA.

              16.       On or about July9, 2014, ACF MEDICAL SERVICES SPECIAL FINANCE

 UNIT, LLC engaged in consumer debt collection activities against Plaintiff in regards to delinquent

  amounts allegedly owed pursuant to consumer debt within the meaning of the FCCPA (the ..Debt

 Collection Activity..)     .




  Ll6-l 142
Case 8:16-cv-02270-MSS-TBM Document 2 Filed 08/08/16 Page 3 of 3 PageID 22


              17.     The Debt Collection Activity included the filing Proof of Claim #3 in Bankruptcy

 case number 8: 14-bk-05092-CPM in the Middle District of Florida.             Said Proof of Claim seeks

 unsecured amounts that appear to be barred from collections by the applicable statute of limitations

 and is otherwise 'stale: Attached hereto as Exhibit "A" are the relevant documents evidencing the

 Debt Collection Activity as described herein this Count. (the "Debt Collection Conduct'}

              18.     ACF MEDICAL SERVICES SPECIAL FINANCE UNIT, LLC's Debt Collection

 Conduct as described herein this Count is a violation of the following provisions of Florida Statutes,

 §559.72:

                      (9) Claim, attempt, or threaten to enforce a debt when suc:h person knows that
              the debt is not legitimate, or assert the existence of some other legal right when sUG'h
              person knows that the right does not exist.
              19.     As a result of the Debt Collection Conduct as described herein this Count, Plaintiff

 has been iaj ured.

              20.    Plaintiff is (a) is entitled to collect its attorney's fees and costs pursuant to the

 Florida Statutes, §559.77(2); (b) has retained the law firm of Stamatakis + Thalji +Bonanno in this

 action; and (c) is obligated to pay the law firm of Stamatakis + Thalji +Bonanno a reasonable fee

 for its services in bringing or defending in this case, as well as all costs of collections.

              WHEREFORE, Plaintiff respectfully requests relief in the form of:   (i) actual damages,
 interest, court costs and attorney's fees; (ii) statutory damages in the minimum amount of$ l,OOO.OO

 per violation; (iii) a trial byjury; and (iv) such further relief in law or equity that the Court deems

 just an appropriate under the circumstances.




                                               STAMATAKIS +THALJI +BONANNO


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  Ll6-l 142
